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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
MARK NUNEZ, et al.,
                 Plaintiff,
        -v-                                                           No. 11-CV-5845-LTS-RWL
CITY OF NEW YORK et al.,
                 Defendants.
-------------------------------------------------------x
                                                     ORDER
                 Before the Court is the Monitoring Team’s letter motion to compel Defendants

“to produce the Commissioner’s referral letter to the Department of Investigation (“DOI”) that

was purportedly submitted to DOI in January 2022.” (Docket entry no. 588 (the “Motion”).)

The Court has also received and reviewed Defendants’ letter in response. (Docket entry no. 589

(the “Response”).) The parties’ correspondence describes the timing and circumstances, and the

parties’ communications regarding, the request for the referral letter.

                 The Monitoring Team requested that Defendants produce the letter “to enable [the

Monitor] to perform his responsibilities given the Department’s own report of its connection to

various Nunez matters and in order for the Monitoring Team to verify that the Department [of

Correction (the “Department”)] ‘has taken the actions it described in the Compliance Report[].’”

(Motion at 1 (quoting docket entry no. 249 (the “Consent Judgment”) §§ XX, ¶ 8 & XIX, ¶ 7).)

The Consent Judgment grants the Monitor access to the people, locations, and information

necessary “to perform his responsibilities under this Agreement.” (Consent Judgment § XX,

¶ 8.)




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               Defendants’ sole articulated objection to the request is a proffer of the

Commissioner’s view that the letter sought “is not relevant to assessing the Department’s current

compliance with Consent Judgement and Remedial Orders, nor is it relevant to remedying the

constitutional violations at issue.” (Response at 2.) The Consent Judgment, however, does not

contemplate the withholding of information or documents based on such an objection. Instead,

the Consent Judgment requires the Department to “encourage all Staff Members to cooperate

fully with the Monitor” and likewise demands that “[n]o Party, or any employee or agent of any

Party, shall have supervisory authority over the Monitor’s activities, reports, findings, or

recommendations.” (Consent Judgment at § XX, ¶¶ 13, 23.) Thus, notwithstanding the

Commissioner’s view that the document is not relevant to current circumstances, Defendants’

obligation under the Consent Judgment was, and is, to produce it promptly upon the Monitor’s

request.

               For the foregoing reasons, Defendants are hereby directed to produce the letter to

the Monitoring Team within 24 hours of this order. This order resolves docket entry no. 588.

       SO ORDERED.
Dated: October 30, 2023                                       __/s/ Laura Taylor Swain ____
       New York, New York                                     Laura Taylor Swain
                                                              Chief United States District Judge




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